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                                  ORIGINAL
                                                                                    ..~ _ . . ,
                                ARM FOR t1S£ IN APPGIGTIC7+ZS
                       FOR HABEAS CORPtS UNDER 28 U .S.C. Section 2254


               .q //




       United States District Cour t         7i(•~~      Distric t of ',~- 4 t

      Case No .           T,   ° F 89
      (To be supplied      erk o U . S-. DistriCourt)

            1,L),//, W 1-10/m-6
             Ham*) (In clude name                   you were mnv i c
                                              v,


            o Warden . Suueri ti             Jailo[, or authorized person
      custody of petitioner)
                                             and

      T'~!E ATIOtZtJfY GENERAi. CF '11M STATE OF ~l/iM -7- `       ,,! rk
                                                                  A~

                                                          ADDITIRsAL, RF.SPQNIDENT .

             (If petitioner is attacking a judgment which imp osed a
      sentence to be served in the future, petitioner rust fill in the name
      of the state where the judgment was entered . If petitioner has a
      sentence to be served in the future under a federal judgment which he
      wishes to att a ck, he should i Yea motion under 28 U .S .C . Sectio n
      2255, in the federal court which entered the;,3
                                                   .judgment .) c T; S .     D T

                                                                                      '11'ile,d in
                 PETITION FOR WRIT CF ilABE'AS CORPUS 8Y A PENSCN IN
                 .      STATE       Q1S'TOOY                                                            A Ii .

                              nN srrUcTioNS--mow cAMF nz.Y... .                                             1999
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      I1) ~ . Zfifa _p etition mist be legibly
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             signed by the petfti-aver ur~der -pena 1ty 'o: perjuty. Airystaemnof
                            material act nay serve as the basis for
                          " conviction for perjury .
             prosecution arx                                   All g3estiorrs mist
                                                                                     - 3 ~-
                                                                                     NutVC pHp U
                                                                                                     NC DAF,~
      Case 4:99-cv-00068-BAE Document 2 Filed 04/01/99 Page 2 of 19




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          be answered concisely in the proper space on the form .

 (2) Additional pages are not permitted except with respect to the
        facts which you rely upon to support your grounds for relief .
       No citation of authorities need be furnished . If briefs or
       arguments are sybrnitted, they should be submitted in the form
       of a separate ~mocandum .

 ( 3) Upon receipt of a fee of $5 your petition will be filed if it
        is in proper order .

 ( 4 ) If you do rot have the necessary filing fee, you may request
         permission to proceed in forma pauperis, in which event you
         must execute the declaration on the last page, setting forth
         information establishing your inability to prepay the fees and
         costs or give security therefor . If you wish to proceed in
         forma pauper is , you must have an authorized officer at the
         penal institution Mete the certificate as to the amount of
         money and securities on deposit to your credit in any account
         in the institution . if your prison account exceeds $
         you must pay the filing fee as required by the rulethof e
         district court .

(5)     Only judgments entered by one court may be challenged in a
        single petition . If yod seek to challenge judgments entered
        by different courts either in the same state or in different
        states, you must file separate petitions as to each court .

(6)     Your attention is directed to the fact that you must include
        all grounds f or relief acid all facts supporting such grounds
        for relief in the petition you ile seeking relief from any
        judgment of conviction .

(7) When the petition is fully completed, the original and two
     copies must be mailed to the Clerk of the United tates
     District Court .ahose address is Post Office Box 1130,
     August a ;_ Georgia, 30903 .

(8) Pe titions which do rot conform to these instructions will be
   • re turned with a notation as to the deficiency.

                                   PETITI M

1-: ------- Nary-an cl -location
                           a     _ of. court- which_ entered the judgment of A
        wc yict~o~ under attack        ~;17'~
        Case 4:99-cv-00068-BAE Document 2 Filed 04/01/99 Page 3 of 19




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    2 . Date of judgment of conviction Ag Jn /G,

    3. Length of sentence &F~ /      dal5c v.W~t'.-j%
4 . Nature of offense involved (all counts)                     ea,slT,ecl
       '!~4



5 . What was your plea? (Check one)
      (a) Not guilty (yam
      (b) Guilty( )
      (c) t3olo contenders
      If you entered a guilty plea to one count or Indictment, and a
      not guilty plea to another count or i ndictment . , give details :




6 . Kind of tr i al: ( Check one)
      (a) Jury (y''
         (b)   Judge only ( j

7.      Did you testify at the trial? Yes ( y No

B . Did you a ppeal f rom the j udgme nt of conviction? Yes( ) t~b

9.     If you did appeal, ansl the following :
        (a) Name of court ~ ~ ~c~         oPE,
        (b) Result f
        (c) Date of result

10 . Other than a direct appeal from the judgment of conviction and
       sentence, have you previously filed any petitions, applica-
       tions, or notions with respect to this judgment in any court,
       state or federal ? Yes ( ) No ( ) ' I

11 .   I f your answer to 10 was "yes " , give the following i nformati on:
        (a)(1) Narse of cour t
           ( 2) Nature of pr ing

.      ( 3) 'Glround s rai sed
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   (4) Did you receive an evidentiary hearing an,, .~yor
        petition, application or motion? Yes (C•r No ( }
   (5) Result
   (6) Date of result
(b) As to any second petition, applicatian o: moricn give the
    same information :
   (1)
        Name of &r t ( Z) Nature of proceeding

   (3) Grounds raised

                            ;            `mNkL



    (4) Did you receive an evidentiary hearing on e your
         *Petition, application or moti on? Yes ( ) No ( )
    (5) Result
    (6) Date of result
(c) As to any third petition, application or motion, give the
     same information :
   (1) Name of court
   (2) Nature of proceeding

   (3)    Grounds   aised
                                         _Slli''L -e-




   (4 ) Did you receive an evidentiary hearing on your
        petition, application or motion? Yes t1o
   (5) Result
   (6) Date of result
(d) Did you appeal to the highest state court having j uris-
    diction the result of action taken cp any petition,
    application or mo tion :
   (1) First petition, etc . Yes 0 t4o, ( )
   (2) Second petition, etc . Yes ( ) tb ( )
   (3) Third pe tition, etc. Yes ( ) No
(e) If you did not appeal frcm t1v adverse action an any
    petition, application or rro tion, explain briefly %.by you
    did no t:


                                x~ .~r
       Case 4:99-cv-00068-BAE Document 2 Filed 04/01/99 Page 5 of 19




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12 . State concisely every ground on which ycu claim that you are
       being held unlawfully . Sisnmrize briefly the facts supporting
       each ground . If necessary, you may attach pages stating
       additional grounds and facts supporting sa ;rne .

      CAUT'IQJ : In prder to proceed in the federal court, you must
         ordinarily first exhaust your state court remedies as to
         each ground on which you request action by the federal
         court . If you fail to set forth all yrcx,rds in this
         petition, you may be barred from presenting additional
         grounds at a later date .

        For your infoc niation, the followinq is a list of the most
     frequently raised grounds for relief in habeas corpus
     proceedings . Each statement preceded by a letter constitutes
     a separate ground for possible relief . You mgrl raise any
     grounds which y o u may have other than those listed if you have
     exhausted all your state court remedies with respect to them .
     However, you should raise in this ~tition all available                  ••
      rounds (relating to this conviction) on which yap base your
     a legations that you are being held in custody unlawfully .

        Do not check any of these listed grounds . If you select
     one or more of these grounds for relief you must allege facts .
     The petition will be returned to you if you merely check (a)
     through (j) or any cne of these grounds .

        (a) Conviction obtained by plea of guilty which was
             unlawfully induced or Trot made voluntarily % rith
             understanding of kha nature of the charge and the
             consequences of the plea .
        (b) Conviction obtained by use of-coerced confession .
        (c) Conviction obtained by use of evidence gained pursuant
             to an unconstitutional search arxi seizure .
        (d)   Conviction obtained by use of evidence obtained
              pursuant to an unlawful arrest .
        (e)' Conviction obtained by a violation of the privilege
             against self-incrimination .
        (f) Conviction obtained by the unconstitutional failure of
             the prosecution to disclose to t1,*-- defe ndant evidence
             favorable to the defendant .
        (g) Conviction obtained by a violation of the protection
             againsC dauble jeopardy .
        (h) Conviction obtained by action . . . . ..a grand or " petit jury
             whim was unconstitutionally selected -cud irsrQanele3,
        (t) Denial of effective assistance of axu Lsel .
        (j) Denial of right of appeal .
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 A.    Ground one :

       Supporting FACTS (tell your story briefly without
       citing cases or law) :
                                              -




B . Ground two :

      SurWcting FACIS (tell your story briefly without
      citing cases or law) :



                                    lot

C . Ground three :

      Supporting FACT'S (tell your story briefly without
      citing cases or law) :




D . Ground four :                         1

      Supporting FAC15 (tell your story briefl ~tFiout
      citing cases or law) :
                           Case 4:99-cv-00068-BAE Document 2 Filed 04/01/99 Page 7 of 19




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                     13 . If any of the grounds listed in 124, A, C , and D were
                           not previously presented in any other court, state or
                           federal, state briefly mat grounds here not so
                           presented, and give your rea:uxov for not presenting
                           them :
                                      t




                     1 4 . Do you have any petition or appeal row pending in any
                            court, either state or federal, as to the judgment
                            under attack? Yes ( ) No

                     15 . Give the name a nd address, if bna 4ri, of eacli attorney
                          Who represented you in the following stages of the
                           judgment attacked herein :

                                   (a) At preliminary _ acing        Aitl!"'   1' JAIC       iQ
                                         .n
                                   (b) At arraignment and plea                           w
                                                       ~Ar1.N
                                   (c) At trial

                                  (d)   A t sentencing            4?~-

                                  (e)   On appeal - .,saeu~
                                  (f)   In any pest-convict on proceeding


                                  (g) C n appea l f mrn any adverse ruling in a
                                      post-conviction pr eding
                                                         ~z~'/F


                    16 . We re you se nt e n ced on W o re than on e coun t of an
                         i ndfctsnen t, or on rror e than on e ind i ctment , in the
                         same cou rt and at the same tire?
                         Yes l 4 No ( 1                                                           '
. . _ . . ._. . .
                    17 .    Dry you have any future sentence to nerve after you
                            ccmplete the sentence itT~*szd tr/ the juc3yn~cnk tinder
                            attack? Yes-( C 1 No ------      _
                                  (a) I f so, give naice- and location of court which
                                       imposed sentence tro be served in the future :
    Case 4:99-cv-00068-BAE Document 2 Filed 04/01/99 Page 8 of 19




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      Case 4:99-cv-00068-BAE Document 2 Filed 04/01/99 Page 9 of 19




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                    (b) Arid give date and length of se ence to be
                         served in the future :

                    (c) Have yai filed, or do yap ntemplate
                         filing, any petition attacking the judgment
                       ~which imposed the sentence to be served in
                        the future? Yes ( ) No ( )

       Wherefore, petitioner prays that the Court grant petitioner
relief to which he may be entitled in this proceeding .



                            Signature of Attorney (if any)

       I declare (or certify, verify, or state) under penalty of
perjury that the foregoing is true and correct . Executed on
                                                               da e)


                                          Signature of Petitioner
     Case 4:99-cv-00068-BAE Document 2 Filed 04/01/99 Page 10 of 19

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PA~rxrjv.,E-R




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